Case: 4:20-cv-01128-RLW Doc. #: 30 Filed: 07/23/21 Page: 1 of 4 PageID #: 452

                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

DYLAN MARTIN,                                     )
                                                  )
           Plaintiff(s),                          )
                                                  )
      v.                                          )     No. 4:20-CV-01128-RLW
                                                  )
LINDENWOOD UNIVERSITY,                            )
                                                  )
           Defendant(s).                          )
                                                  )

                           NOTICE OF APPOINTMENT OF NEUTRAL

      Upon selection by parties, pursuant to the procedures outlined in E. D. Mo. L. R. 6.03,

the Clerk of the court hereby notifies
       Name of Neutral/Firm:       HON. WAYNE R. ANDERSON
       Firm Address:               71 S. Wacker Dr. Suite 2400 Chicago, IL 60606
       Email:                      sdicken@jamsadr.com

that s/he has been appointed to serve as Neutral in the above-styled action to conduct mediation.

      This appointment shall remain effective until the Neutral notifies the Court in writing that

the referral has been concluded.

      The Attorneys of Record in this case are:
                  Lead Counsel:  Joseph Ignatius Marchese (for pla)
                                 BURSOR AND FISHER PA - New York
                                 888 Seventh Ave.
                                 Suite 304
                                 New York, NY 10019
                                 Ph: 646-837-7410 FAX:
                  Other Counsel: Martin M. Loring (for dft)
                                 HUSCH BLACKWELL LLP - Kansas City
                                 4801 Main Street
                                 Suite 1000
                                 Kansas City, MO 64112
                                 Ph: 816-983-8000 FAX: 816-983-8080


      The completion deadline for this ADR referral is September 30, 2021. The neutral

shall file an ADR Compliance Report within 14 days after the ADR referral is concluded.
Case: 4:20-cv-01128-RLW Doc. #: 30 Filed: 07/23/21 Page: 2 of 4 PageID #: 453

      The Neutral is directed to ascertain and to disclose to the parties any grounds that might

exist which would require disqualification pursuant to 28 U.S.C. § 455.


July 23, 2021.                                      Gregory J. Linhares                 /
Date                                                Clerk of Court

                                             By:    /s/ Brittany Porter /
                                                    BRITTANY PORTER
                                                    Deputy Clerk
 Case: 4:20-cv-01128-RLW Doc. #: 30 Filed: 07/23/21 Page: 3 of 4 PageID #: 454


                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION
DYLAN MARTIN,                                   )
                                                )
        Plaintiff(s),                           )
                                                )
   v.                                           )      No. 4:20-CV-01128-RLW
                                                )
LINDENWOOD UNIVERSITY,                          )
                                                )
        Defendant(s).                           )
                                                )

           ALTERNATIVE DISPUTE RESOLUTION COMPLIANCE REPORT
                   Complete one option and file this report with the Clerk's Office
                                            Option 1
         The neutral elects to extend the deadline for completing ADR for 14 days and will
         continue efforts to assist the parties in reaching a settlement. Revised completion
         deadline: _____________. Such an election by the neutral is permitted once during the
         span of a mediation in a single case. If the parties require more time to complete
         mediation, lead counsel must file a motion with the Court.
                                            Option 2
         An ADR conference was held on: __________________________________.
         All required individuals, parties, counsel of record, corporate representatives, and/or
         claims professionals attended and participated in the ADR conference(s) in good faith,
         and each possessed the requisite settlement authority;
         The following individuals, parties, counsel of record, corporate representatives, and/or
         claims professionals failed to appear and/or participate in good faith as ordered:
         ______________________________________________________________.

         The ADR referral was concluded on ____________________________.
         The parties [□ did □ did not] achieve a settlement. Check one
                                            Option 3
         Although this case was referred to ADR, a conference WAS NOT HELD.

              Date: ____________________         Neutral: _____________________________
                                                           HON. WAYNE R. ANDERSON
                                                           Signature
Case: 4:20-cv-01128-RLW Doc. #: 30 Filed: 07/23/21 Page: 4 of 4 PageID #: 455


                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION
DYLAN MARTIN,                                         )
                                                      )
         Plaintiff(s),                                )
                                                      )
    v.                                                )       No. 4:20-CV-01128-RLW
                                                      )
LINDENWOOD UNIVERSITY,                                )
                                                      )
         Defendant(s).                                )
                                                      )

    EMAIL ADDRESS FORM FOR PARTIES WHO PARTICIPATED IN ANALTERNATIVE
                     DISPUTE RESOLUTION CONFERENCE

                    PLEASE DO NOT FILE THIS FORM THROUGH CM/ECF

                                          YOU MAY EITHER:

            1) SEND THE EMAIL ADDRESSES IN AN EMAIL DIRECTLY TO; OR

                                      2) EMAIL THIS FORM TO:

                                 Betty Ann Skrien, Executive Assistant at:

                                 Betty_Ann_Skrien@moed.uscourts.gov

Please provide the email addresses of all counsel and parties participating in the ADR
conference. The participants will be sent an email with a link to a brief (5 minute), anonymous
survey. A participant is defined as a plaintiff, defendant, insurance representative, in-house counsel,
corporate representative, or attorney of record.

Name (printed):                                           Email address:
___________________________________            ___________________________________

___________________________________            ___________________________________

___________________________________            __________________________________

___________________________________            ___________________________________

___________________________________            ___________________________________

___________________________________            ___________________________________

___________________________________            ___________________________________

___________________________________            ___________________________________



             Date______________ Neutral_______________________________________
